Case 23-10831-MFW   Doc 651-26       Filed 11/01/23   Page 1 of 6




                         Exhibit 5

             Disputed Claim or Interest Notice
                Case 23-10831-MFW              Doc 651-26         Filed 11/01/23        Page 2 of 6




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


 In re:                                                  Chapter 11

                                                           Case No. 23-10831 (MFW)
 Lordstown Motors Corp., et al.,1
                                                         (Jointly Administered)
                               Debtors.


                 NOTICE OF NON-VOTING STATUS WITH RESPECT TO
                         DISPUTED CLAIM OR INTEREST

          PLEASE TAKE NOTICE OF THE FOLLOWING:

        1.       On [●], 2023, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) entered an order in the above-captioned chapter 11 cases [D.I. [●]] (the
“Disclosure Statement Order”): (a) approving the Disclosure Statement Pursuant to 11 U.S.C. §
1125 with Respect to Modified First Amended Joint Chapter 11 Plan of Lordstown Motors Corp.
and Its Affiliated Debtors (together with all schedules and exhibits thereto, and as may be modified,
amended, or supplemented from time to time, the “Disclosure Statement”) and the form and
manner of notice; (b) approving procedures for soliciting, receiving, and tabulating votes on the
Plan and for filing objections to the Plan (the “Solicitation Procedures”); (c) approving the forms
of ballots; (d) approving the form, manner and scope of confirmation notices; (e) establishing
certain deadlines in connection with approval of the Disclosure Statement and confirmation of the
Modified First Amended Joint Chapter 11 Plan of Lordstown Motors Corp. and Its Affiliated
Debtors (together with all schedules and exhibits thereto, and as may be modified, amended, or
supplemented from time to time, the “Plan”); 2 and (f) granting related relief.

        2.      You are receiving this notice because your Claim(s) against the Debtors is/are
subject to a pending objection by the Debtors and therefore, pursuant to the Solicitation Procedures
Order and sections 502(a) and 1126(a) of the Bankruptcy Code, you are not entitled to vote to
accept or reject the Plan on account of your Claim unless one of the following Resolution
Events (as defined in the Solicitation Procedures) occurs on or before December 5, 2023 (the
“Voting Resolution Event Deadline”):

          (i)     entry of an order of the Bankruptcy Court, after notice and a hearing, allowing such
                  Claim pursuant to section 502(b) of the Bankruptcy Code;


1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address
is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
2
         Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the Plan
or the Disclosure Statement, as applicable.
               Case 23-10831-MFW        Doc 651-26      Filed 11/01/23    Page 3 of 6




       (ii)      entry of an order of the Bankruptcy Court, after notice and a hearing, granting a
                 Rule 3018(a) Motion (as defined below) and temporarily allowing such Claim for
                 voting purposes;

       (iii)     execution of a stipulation or other agreement between the holder of a Disputed
                 Claim or Interest and the Debtors resolving the objection and allowing such Claim
                 for voting purposes in an agreed-upon amount or otherwise fixing an amount of the
                 Claim for voting purposes; or

       (iv)      the pending objection is voluntarily withdrawn by the objecting party.

Accordingly, this notice is being sent to you for informational purposes only.

        3.      If you seek to challenge the disallowance or estimation of your Disputed Claim or
Interest for voting purposes, you must file with the Bankruptcy Court a motion for an order,
pursuant to Bankruptcy Rule 3018(a), temporarily allowing such claim for purposes of voting to
accept or reject the Plan (a “Rule 3018(a) Motion”). Any Rule 3018(a) Motion must be filed with
the Bankruptcy Court and served on the Debtors so as to be actually received by November 27,
2023 (the “Rule 3018(a) Motion Deadline”). If a Holder of a Disputed Claim or Interest files a
timely Rule 3018(a) Motion, such Holder’s Ballot shall not be counted unless a Resolution Event
occurs with respect to such Disputed Claim or Interest prior to the Voting Resolution Event
Deadline.

        4.      If a Holder of a Disputed Claim or Interest files a Rule 3018(a) Motion by the Rule
3018(a) Motion Deadline, the Solicitation Agent, at the direction of the Debtors or their counsel,
shall send such holder a Solicitation Package, including an applicable Ballot as soon as practicable
after such Rule 3018(a) Motion is filed. A Ballot returned by a holder of a Disputed Claim or
Interest to the Solicitation Agent in compliance with the Solicitation Procedures shall only be
counted to the extent that a Voting Resolution Event has occurred with respect to the holder’s
Disputed Claim or Interest by the Voting Resolution Event Deadline.

        5.     The Bankruptcy Court has scheduled a hearing beginning on December 19, 2023
at [●] (prevailing Eastern Time) (the “Confirmation Hearing”) to consider whether to confirm
the Plan. The Confirmation Hearing will be held before the Honorable Mary F. Walrath, United
States Bankruptcy Judge, at the Bankruptcy Court, located at 824 North Market Street, Fifth Floor,
Courtroom No. 4, Wilmington, Delaware 19801. Please be advised that the Confirmation
Hearing may be adjourned or continued from time to time by the Bankruptcy Court or the
Debtors without further notice other than as indicated in any notice or agenda of matters
scheduled for a particular hearing that is filed with the Bankruptcy Court or by being
announced in open court. If the Confirmation Hearing is continued, the Debtors will post the
new date and time of the Confirmation Hearing at https://www.kccllc.net/lordstown. The Plan
may be modified, if necessary, prior to, during, or as a result of the Confirmation Hearing, without
further notice to creditors or other parties in interest, unless such notice is required by the
Bankruptcy Code, Bankruptcy Rules, or other applicable law.

        6.    If you would like to object to the Plan, you may do so by filing your objection no
later than December 8, 2023 at 4:00 p.m. (prevailing Eastern Time) (the “Plan Objection


                                                  2
             Case 23-10831-MFW          Doc 651-26       Filed 11/01/23     Page 4 of 6




Deadline”). Any objections or responses to confirmation of the Plan, must: (a) be in writing;
(b) state the name and address of the objecting party and the nature and amount of the Claim of
such party; (c) state with particularity the legal and factual basis and nature of any objection to the
Plan and include any evidentiary support therefor; (d) conform to the Bankruptcy Rules, the local
rules of the Bankruptcy Court, and any order of the Bankruptcy Court; and (e) be filed with the
Bankruptcy Court, 824 North Market Street, Third Floor, Wilmington, Delaware 19801 together
with proof of service on or before the Plan Objection Deadline, and served so as to be actually
received by the parties below on or before the Plan Objection Deadline, which service may be
through the CM/ECF system, with courtesy copies to:

       (a)     counsel to the Debtors, (i) White & Case LLP, Southeast Financial Center, 200
               South Biscayne Boulevard, Suite 4900, Miami, FL 33131 (Attn: Thomas E Lauria
               (tlauria@whitecase.com), Matthew Brown (mbrown@whitecase.com), and Fan B.
               He (fhe@whitecase.com)), 1221 Avenue of the Americas, New York, NY 10020
               (Attn: David Turetsky (david.turetsky@whitecase.com)), 111 South Wacker Drive,
               Suite 5100, Chicago, IL 60606 (Attn: Jason N. Zakia (jzakia@whitecase.com)),
               and 555 South Flower Street, Suite 2700, Los Angeles, CA 90071 (Attn: Roberto
               Kampfner (rkampfner@whitecase.com), Doah Kim (doah.kim@whitecase.com),
               and RJ Szuba (rj.szuba@whitecase.com)), and (ii) Womble Bond Dickinson (US)
               LLP, 1313 North Market Street, Suite 1200, Wilmington, Delaware 19801 (Attn:
               Donald J. Detweiler (don.detweiler@wbd-us.com) and Morgan L. Patterson
               (morgan.patterson@wbd-us.com));
       (b)     the U.S. Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, DE 19801
               (Attn: Benjamin A. Hackman (Benjamin.A.Hackman@usdoj.gov));
       (c)     counsel to the Creditors’ Committee, Troutman Pepper Hamilton Sanders LLP,
               Hercules Plaza, Suite 5100 1313 N. Market Street, Suite 5100 Wilmington, DE
               19801 (Attn: David M. Fournier (david.fournier@troutman.com), and 875 Third
               Avenue New York, NY 10022 (Attn: Deborah Kovsky-Apap
               (deborah.kovsky@troutman.com), and 3000 Two Logan Square, 18th & Arch
               Streets,    Philadelphia,   PA     19103    (Attn:    Francis   J.   Lawall
               (francis.lawall@troutman.com)); and
       (d)     counsel to the Equity Committee, (i) Morris James LLP, 500 Delaware Avenue,
               Suite     1500,     Wilmington,   DE    19801    (Attn:   Eric    J.    Monzo
               (emonzo@morrisjames.com) and Brya M. Keilson (bkeilson@morrisjames.com));
               and (ii) Brown Rudnick LLP, 7 Times Square, New York, NY 10036 (Attn: Robert
               J.    Stark     (rstark@brownrudnick.com)    and   Bennett     S.    Silverberg
               (bsilverberg@brownrudnick.com)).


IF ANY OBJECTION TO CONFIRMATION OF THE PLAN IS NOT FILED AND
SERVED STRICTLY AS PRESCRIBED HEREIN, THE OBJECTING PARTY MAY BE
BARRED FROM OBJECTING TO CONFIRMATION OF THE PLAN AND MAY NOT
BE HEARD AT THE CONFIRMATION HEARING.



                                                  3
            Case 23-10831-MFW          Doc 651-26       Filed 11/01/23     Page 5 of 6




       7.      The Debtors may (and reserve the right to) seek Confirmation of a modified
Plan that embodies a different proposal than that contemplated under the Plan attached to
the Disclosure Statement as Exhibit A. The Debtors may seek Confirmation of a modified
Plan without resoliciting votes on such modified Plan in accordance with Bankruptcy Rule
3019 so long as the Plan, as modified, does not “adversely change” the treatment of any Claim
or Interest relative to the treatment for such Claim or Interest contemplated under the
Plan. In such a case, votes to accept the Plan shall be deemed to constitute votes to accept
the modified Plan.

        If you would like copies of the Plan, the Disclosure Statement, the Solicitation Procedures
Order, or other documents related to the Plan, free of charge, you may obtain these documents
from Kurtzman Carson Consultants LLC (the “Solicitation Agent”), free of charge, by: (a) calling
the Debtors’ toll-free restructuring hotline at (877) 709-4757 (U.S./Canada) or (424) 236-7235
(international); (b) visiting the Debtors’ restructuring website at https://www.kccllc.net/lordstown;
(c) writing to Lordstown Processing Center, c/o Kurtzman Carson Consultants LLC, 222 N. Pacific
Coast Highway, Suite 300, El Segundo, CA 90245 or (d) emailing lordstowninfo@kccllc.com
(with ‘Lordstown’ in the subject line). You may also access from these materials for a fee via
PACER at http://www.deb.uscourts.gov/.

       8.     If you have questions about this notice, please contact the Solicitation Agent,
Kurtzman Carson Consultants LLC, at https://www.kccllc.net/lordstown, (877) 709-4757
(U.S./Canada) or (424) 236-7235 (international), or lordstowninfo@kccllc.com. The Solicitation
Agent is not authorized to, and will not, provide legal advice.

THIS NOTICE IS BEING SENT TO YOU FOR INFORMATIONAL PURPOSES ONLY.
IF YOU HAVE QUESTIONS WITH RESPECT TO YOUR RIGHTS UNDER THE PLAN
 OR ABOUT ANYTHING STATED HEREIN OR IF YOU WOULD LIKE TO OBTAIN
     ADDITIONAL INFORMATION, CONTACT THE SOLICITATION AGENT
               ACCORDING TO THE INSTRUCTIONS ABOVE.

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                                                 4
          Case 23-10831-MFW            Doc 651-26   Filed 11/01/23   Page 6 of 6




Dated: October [●], 2023                      WHITE & CASE LLP
                                              Thomas E Lauria (admitted pro hac vice)
Respectfully submitted,
                                              Matthew C. Brown (admitted pro hac vice)
                                              Fan B. He (admitted pro hac vice)
/s/
                                              200 South Biscayne Boulevard, Suite 4900
                                              Miami, FL 33131
WOMBLE BOND DICKINSON (US)
                                              Telephone: (305) 371-2700
LLP
                                              tlauria@whitecase.com
                                              mbrown@whitecase.com
Donald J. Detweiler (Bar No. 3087)
                                              fhe@whitecase.com
Morgan L. Patterson (Bar No. 5388)
1313 North Market Street, Suite 1200
                                              David M. Turetsky (admitted pro hac vice)
Wilmington, Delaware 19801
                                              1221 Avenue of the Americas
Telephone: (302) 252-4320
                                              New York, NY 10020
Facsimile: (302) 252-4330
                                              Telephone: (212) 819-8200
don.detweiler@wbd-us.com
                                              david.turetsky@whitecase.com
morgan.patterson@wbd-us.com
                                              Jason N. Zakia (admitted pro hac vice)
Proposed Counsel to the Debtors and
                                              111 South Wacker Drive, Suite 5100
Debtors in Possession
                                              Chicago, IL 60606
                                              Telephone: (312) 881-5400
                                              jzakia@whitecase.com

                                              Roberto Kampfner (admitted pro hac vice)
                                              Doah Kim (admitted pro hac vice)
                                              RJ Szuba (admitted pro hac vice)
                                              555 South Flower Street, Suite 2700
                                              Los Angeles, CA 90071
                                              Telephone: (213) 620-7700
                                              rkampfner@whitecase.com
                                              doah.kim@whitecase.com
                                              rj.szuba@whitecase.com

                                              Counsel to Debtors and Debtors-in-Possession




                                              5
